Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 1 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 2 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 3 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 4 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 5 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 6 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 7 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 8 of 9
Case 2:23-ap-01485-DS   Doc 4 Filed 12/07/23 Entered 12/07/23 12:51:35   Desc
                        Main Document     Page 9 of 9
